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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                 CASE NO: 24-90533 (ARP)
In Re:                                           CHAPTER 11 (JOINTLY ADMINISTERED)

WELLPATH HOLDINGS, INC., et. al., Debtors.
__________________________/

CLAIMANTS LONNIE WRIGHT’S, CEDRIC STEWART’S AND EUGENE MILLER’S
   OBJECTION TO ENTRY OF A FINAL ORDER ON DEBTORS’ EMERGENCY
  MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS TO ENFORCE THE
AUTOMATIC STAY OR IN THE ALTERNATIVE EXTEND THE AUTOMATIC STAY
              TO NON-DEBTOR and DEBTOR DEFENDANTS

         Lonnie Wright, Cedric Steart and Eugene Miller (hereinafter collectively referred to as

“Claimants”), by and through their undersigned counsel, hereby file this Objection to Debtor’s

Entry of a Final Order on Debtors’ Emergency Motion for Entry of Interim and Final Orders to

Enforce the Automatic Stay or in the Alternative Extend the Automatic Stay to Non-Debtor

Defendants, (“Emergency Motion”), and state as follows:

         1.      Each of the three claimants have pending pre-petition civil rights claims asserted

against Debtors and various Non-debotor defendants (the “Litigation”), which are briefly

described below:

              a. Mr. Stewart initiated a civil rights action in the United States District Court for the
                 Western District of Pennsylvania on August 5, 2024, at docket number
                 3:24-cv-181, alleging that Debtor Wellpath and Non-debtor Sathiavathi Natarajan,
                 MD, failed to provide him adequate medical care after he was diagnosed with
                 extensive facial fractures, resulting in a disfigured face, significant chronic pain,
                 and increased risk that his face will be further injured in the future due to poor
                 structural integrity.

              b. Mr. Wright initiated a civil rights action in the United States District Court for the
                 Eastern District of Pennsylvania on October 25, 2023, at docket number
                 2:23-cv-4115, alleging that Debtor Wellpath and Non-debtors Matthew Micelli,

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               MD and Joseph Walsh, PA, failed to provide him adequate medical care when his
               squamous cell carcinoma was not timely diagnosed or treated until it reached
               Stage IV, causing his survival rate to be severely reduced.

            c. Mr. Miller initiated a civil rights action in the United States District Court for the
               Middle District of Pennsylvania on February 16, 2023, at docket number
               4:23-cv-282, alleging that Debor Wellpath and Non-debors Marty Cole, MD,
               Grinder, Malhi, MD, and Gabrielle Nalley, PA, failed to provide him adequate
               medical care when his cancer went undiagnosed and untreated for over a year,
               allowing significant spread of the cancer into his vertebrae and causing
               pathological fractures and other poor outcomes.

       2.      On November 12, 2024, Debtors moved for the Automatic Stay in this bankruptcy

proceeding to be extended to all non-debtor defendants, [ECF 17], which this Honorable Court

subsequently granted pending a final hearing on December 5, 2024. [ECF 69].

       3.      For the following reasons, Claimants respectfully request that this Honorable

Court lift the stay as to all Non-debtor defendants, and permit the above-described claims to

proceed against the Non-debtor defendants.



       The Stay as to Non-debtor defendants is unnecessary.

       4.      The Claimants are seeking compensation from their very serious bodily injuries

from the Non-debtor defendants described above.

       5.      In Pennsylvania, where each of the Claimants’ Litigation is pending, all medical

providers, including the Non-debor defendants, are required to be covered by malpractice

insurance. See Act of March 20, 2002 (P.L. 154, No. 13), known as the Medical Care Availability

and Reduction of Error (MCARE) Act.

       6.      Based on the disclosures and representations which have been made to the

Claimants in the Litigation, they understand that the Non-debtor defendant medical providers in




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the Litigation are covered by medical malpractice insurance in the amount of $500,000.00, which

is separate and distinct from the Debtors’ own coverage.

       7.      As such, Claimants are able to vindicate their rights in the Litigation and obtain

compensation from the Non-debor defendants via their insurance funds, without implicating or

impacting the Debtors or their ongoing bankruptcy proceedings, which remain subject to the

Automatic Stay.

       8.      Debtors asserted in their Emergency Motion that the Automatic Stay must be

extended even to Non-debtor defendants, because Debtors have entered into “certain PC

Management Services Agreements [which require Debtor to] indemnify the Professional

Corporations and the PC Physicians for losses caused in conjunction with the Professional

Corporations’ operations (including patient care provided by the PC Physicians).” [ECF 17, para.

4].

       9.      This argument lacks any merit whatsoever. The Debtors’ indemnification

obligations, if any, in the Litigation would merely serve to transfer identity of the payee in the

event of a judgment or settlement, from the Claimants to the respective Non-debtor Defendants.

Because such Debtor obligations are already covered by Automatic Stay, and will be subject to

the discharge requirements at the termination of this bankruptcy proceeding, it is immaterial and

irrelevant whether Debtor owes the Claimants directly, or the Non-debtor defendants via its

indemnification agreement.

       10.     As such, the very basis for Debtors’ request that the Automatic Stay be extended

to Non-debtor defendants, demonstrates why this judicial action is unnecessary; regardless of

whether the Automatic Stay is imposed as to Non-debtor defendants, Debtors themselves are

fully protected by the Automatic Stay and discharge provisions.




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       11.     Alternatively, Debtor has sought the Automatic Stay for cases where claims

against Non-debtor defendants were based on alter ego theory. In the subject Litigation, none of

the Claimants have alleged that any of the Non-debtor defendants are an “alter ego” of any

Debtor, nor vice versa. As such, this potential issue is not a basis to continue the stay in the

Litigation brought by Mr. Wright, Mr. Miller, or Mr. Stewart.

       12.     The Debtors have also argued that “continued litigation would burden the Estates

and key personnel at a pivotal moment in the Chapter 11 cases.” (ECF 15). This is completely

inaccurate.

       13.     Allowing the Claimants to proceed solely as to third party Non-debtor defendants

in their pending civil rights cases, and seek compensation solely from these third party

Non-debtor defendants and their third party insurance carriers, would not burden the Debtors or

their estates in any way.

       14.     Claimants have not, and will not, do anything to violate the Automatic Stay

imposed against the Debtors. However, it is grossly disproportionate and unnecessary to prevent

Claimants from resolving their claims against third parties, as Debtor is seeking.



       The Stay as to Non-debtor defendants is unjust and creates unnecessary hardship.

       15.     The Claimants are seeking compensation from their very serious bodily injuries

from the Non-debtor defendants described above.

       16.     Regardless of the outcome of Debtors’ bankruptcy proceedings, eventually the

Litigation against the Non-debtor Defendants will be resumed and concluded.




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       17.     However, if this Honorable Court imposes an Automatic Stay as to all Non-debtor

defendants, it will substantially delay the resolution of the Litigation, to the detriment of both the

Claimants and the Non-debtor defendants.

       18.     It is axiomatic that “justice delayed is justice denied.” United States ex rel.

Drummond, 886 F.3d 448, 450 (5th Cir. 2018).

       19.     Both Mr. Wright and Mr. Miller have suffered significant delays in the diagnosis

and treatment of cancer, and while no person is guaranteed another day of life, their history of

cancer renders litigation delays particularly damaging.

       20.     The stress and uncertainty of litigation weighs heavily on both plaintiffs and

defendants alike, and therefore prohibiting Claimants from settling or otherwise resolving their

claims in the Litigation with the Non-debtor defendants is unjust.

       21.     Mr. Wright was scheduled to mediate his claims with the Non-debtor defendants

on November 20, 2024, and Mr. Miller was scheduled to mediate his claims with the Non-debtor

defendants on December 18, 2024. Mr. Stewart was scheduled to undergo an “early neutral

evaluation” on November 20, 2024.

       22.     Unfortunately, these mediation proceedings are stayed, due to the extension of the

Automatic Stay to Non-debtor defendants.

       23.     Debtors’ describe the disruption to Claimants efforts to resolve their claims as

“minimal.” [ECF 17, para. 6].

       24.     Candidly, this claim is absurd and disappointing. Given the serious physical

injuries and health ramifications from which Claimants are suffering with, freezing their right to

negotiate and settle their claims with third parties for an indefinite period of time is inexpressibly

disruptive and distressing.




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       25.     Moreover, the undersigned has spoken by phone to counsel for the Non-debtor

Defendant Marty Cole, MD, who verbally confirmed his desire to proceed with mediation and

resolve the claims against Dr. Cole.

       26.     As such, continuing the Automatic Stay as to all Non-debtor defendants would

serve to frustrate the intent and wishes of both the Claimants and at least some of the Non-debtor

defendants.

       WHEREFORE, Claimants Lonnie Wright, Cedric Strewart, and Eugene Miller

respectfully request that this Honorable Court deny the Emergency Motion for an Automatic

Stay imposed on all Non-debtor Defendants, or at a minimum, lift the Automatic Stay as to

Non-debtor defendants in the cases pending at 3:24-cv-181, 2:23-cv-4115, and 4:23-cv-282.

                                             Respectfully submitted,

Date: December 2, 2024                       MIZNER LAW FIRM

                                             By: /s/ Joseph Caulfield

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                                                                  CASE NO: 24-90533 (ARP)
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WELLPATH HOLDINGS, INC., et. al., Debtors.
__________________________/

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 2, 2024, I electronically filed the foregoing

Objection with the Clerk of the Court using CM/ECF, and that the foregoing document is being

served this day on all counsel of record or pro se parties authorized manner for those counsel or

parties who are authorized to receive electronically Notices of Electronic Filing.

                                                     Respectfully submitted,

                                                     MIZNER LAW FIRM

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